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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                         MDL No. 3076
                                  Case No. 1:23-md-03076-KMM

   IN RE:

   FTX Cryptocurrency Exchange Collapse Litigation
   ____________________________________________

   This document relates to:
   THIS DOCUMENT RELATES TO ALL ACTIONS
   ____________________________________________/

      JOINT MOTION FOR EXTENSION ON PLAINTIFF’S MOTION FOR ALL WRITS ACT
     INJUNCTION [ECF NO. 713] AND STAY OF ORDER TO SHOW CAUSE [ECF NO. 706]
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           Plaintiffs and the FTX Debtors (“Debtors”) (Plaintiffs and FTX Debtors collectively, the

   “Parties”), respectfully file this joint motion seeking an order from this Court:

           1. The Parties request that the Court extend the deadline for Debtor’s opposition to

               Plaintiffs’ All Writs Act Injunction Against Debtor-In-Possession, FTX Trading LTD,

               and Related FTX Debtors [ECF No. 713] (“Motion for All Writs Act Injunction”) until

               August 23, 2024, and extend the deadline for Plaintiffs’ Reply thereto until August 30,

               2024; and

           2. The Parties further request the Court take no action on the Order to Show Cause [ECF

               No. 706] pending negotiations between the Parties. The Parties agree to provide the

               Court with a status update on or before August 28, 2024.

                                            CONCLUSION

           Plaintiffs and the FTX Debtors respectfully request that the Court grant their Joint Motion

   for Extension on Plaintiffs’ Motion for All Writs Act Injunction [ECF No. 713] and Stay of Order

   to Show Cause [ECF No. 706]. A Proposed Order is attached as Exhibit A.

               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1 (a)(3)

           In compliance with Local Rule 7.1(a)(3), counsel for Plaintiffs and the FTX Debtors

   conferred regarding the relief requested herein, and all parties came to agreement on this joint

   request for relief.




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   Dated: August 15, 2024                                   Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

             I hereby certify that a true and correct copy of the foregoing was filed on August 15, 2024

   via the Court’s CM/ECF system, which will send notification of such filing to all attorneys of

   record.
                                                          By: /s/ Adam Moskowitz
                                                          Adam M. Moskowitz


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